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 7 United States of America

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-00144-JAM

12                                 Plaintiff,

13                          v.                           FINAL ORDER OF FORFEITURE

14   JASON SAMUEL SCHROEDER, JOHN
     JUDAH YOUNG, KIRK ARTHELL
15   SANDERSON, et al.,

16                                Defendants.

17

18          WHEREAS, on or about February 25, 2015, this Court entered a Preliminary Order of Forfeiture

19 pursuant to the provisions of 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), based upon the plea

20 agreements entered into between plaintiff and defendants John Judah Young, Kirk Arthell Sanderson

21 and Jason Samuel Schroeder forfeiting to the United States the following property:

22                  a.     2008 Toyota Tundra Truck, VIN: 5TFDV54188X055642, California License
                           Number: 8P02622,
23
                    b.     All items listed in Exhibit A, attached hereto and incorporated within,
24
                    c.     All items listed in Exhibit B, attached hereto and incorporated within, and
25
                    d.     All items listed in Exhibit C, attached hereto and incorporated within.
26
            AND WHEREAS, beginning on February 28, 2015, for at least 30 consecutive days, the United
27
     States published notice of the Court’s Order of Forfeiture on the official internet government forfeiture
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      FINAL ORDER OF FORFEITURE                          1
             Case 2:13-cr-00144-JAM Document 248 Filed 11/24/15 Page 2 of 11

 1 site www.forfeiture.gov. Said published notice advised all third parties of their right to petition the

 2 Court within sixty (60) days from the first day of publication of the notice for a hearing to adjudicate the

 3 validity of their alleged legal interest in the forfeited property;

 4          AND WHEREAS, the Court has been advised that no third party has filed a claim to the subject

 5 property, and the time for any person or entity to file a claim has expired.

 6          Accordingly, it is hereby ORDERED and ADJUDGED:

 7          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States of America

 8 all right, title, and interest in the above-listed property pursuant to 981(a)(1)(C) and 28 U.S.C. § 2461(c),

 9 to be disposed of according to law, including all right, title, and interests of John Judah Young, Kirk

10 Arthell Sanderson and Jason Samuel Schroeder.

11          2.      All right, title, and interest in the above-listed property shall vest solely in the name of the

12 United States of America.

13          3.      The Internal Revenue Service shall maintain custody of and control over the subject

14 property until it is disposed of according to law.

15          SO ORDERED this 23rd day of November, 2015.

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                                                    /s/ JOHN A. MENDEZ________
17                                                  JOHN A. MENDEZ
                                                    United States District Judge
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      FINAL ORDER OF FORFEITURE                            2
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 3
                                  EXHIBIT A
     Seizure Date:                 April 9, 2013
 4   Seizure
     Location:                     2025 W El Camino #217
 5                                 Sacramento, CA
 6
       AFTRAK             Asset
 7      Number           Number    Asset Description                              Quantity
 8     94130108             1      Nike Jersey                                       1
       94130108             2      Professional Sports Jerseys                       4
 9     94130108             3      Geoffrey Beene Dress Shirts                       5
       94130108             5      Sony Laptop                                       1
10
       94130108             6      Asus Laptop                                       1
11     94130108             7      Asus Tablet Case                                  1
       94130108             8      REI Tablet Case                                   1
12     94130108             9      iPad w/external portable harddrive                1
13     94130108            10      Samsung Smart Phone                               1
       94130108            11      Sandisk Thumbdrive                                1
14     94130108            12      Micro sd Card                                     1
       94130108            13      iPhone case                                       1
15
       94130108            14      HP 470 Travel Printer                             1
16     94130108            15      Logitech Blue-Tooth Keyboards                     2
       94130108            16      Crockpot                                          1
17     94130108            17      Calphlon Seven Knife Set- Katana Series           1
                                   20 Piece Lenox Flatware Set, 18/10 Stainless
18
       94130108              18    Steel                                             1
19     94130108              19    Vitamix Blender Container Top                     1
       94130108              20    Breville Juice Fountain                           1
20     94130108              21    REI Duffle Bag                                    1
21     94130108              22    Home Elegance B45-T, Storage Bin w/Castors        1
       94130108              23    North Face Yellow Duffle Bag                      1
22     94130108              25    Fitbit Zip Wireless Activity Tracker              3
       94130108              26    Insulated Q-Core SL Sleeping Pad                  2
23
       94130108              27    Outdoor Products Travel Bag                       1
24     94130108              28    Exped Down Sleeping Mat                           1
       94130108              29    Wilson A2K Baseball Mitt                          1
25     94130108              30    Nike One Baseball Cap                             1
26     94130108              31    Pro-Kennex- Kinetic 750 Racketball Racket         1
       94130108              32    Pelouze Mailing Scale                             1
27     94130108              33    Zwilling J.A. Henckels 8 Piece Knife Set          5
       94130108              34    Wusthof Knife Set                                 9
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 1     94130108              35   Mixed Breed ID Test for Dogs               4
       94130108              36   Fiproguard Sentry Flez/Tick for Dogs       1
 2
       94130108              37   Advantage II for Dogs                      1
 3     94130108              38   Cosequin DS Supplements for Dogs           1
       94130108              39   Outdoor Products Duffel Bag- Black         1
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     FINAL ORDER OF FORFEITURE                  4
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 3
                                 EXHIBIT B
     Seizure Date:                 April 10, 2013
 4   Seizure Location:             2716 Oak Road #217
                                   Walnut Creek, CA
 5

 6     AFTRAK              Asset
        Number            Number   Asset Description                         Quantity
 7
       94130105              1     iPhone                                       1
 8     94130105              2     Black Diamond HeadLamps Assorted             11
       94130105              3     Outdoor Products Duffel Bags                  2
 9     94130105              4     Black Diamond Trekking Poles               1 Pair
10     94130105              5     Frontline Flea Medicine                      4
       94130105              6     Advantix Flea Medicine                       11
11     94130105              7     Cosequin Dog Supplements                     2
       94130105              8     Flexi Dog Leash                               1
12
       94130105              9     Furminator Pet Grooming Brushes              10
13     94130105             10     Roxylean Bodybuilding Supplement              1
       94130105             11     Muscle Tech Sports Supplement                 1
14     94130105             12     Vinturi Wine Aerator                          5
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     FINAL ORDER OF FORFEITURE                5
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 3
                                 EXHIBIT C
 4   Seizure Date:               April 9, 2013
     Seizure Location:           2251 Garden Highway
 5                               Sacramento, CA
 6
      IRS AFTRAK         Asset
 7       Number         Number               Asset Description            Quantity
 8      94130107           1     North Face Duffel Bags                      7
        94130107           2     Outdoor Products Duffel Bags                2
 9      94130107           3     Samsonite Duffel Bag                        1
        94130107           4     Messenger Bag                               1
10
        94130107           5     Yakima Duffel                               1
11      94130107           6     Misc. Bags                                 36
        94130107           7     Sea To Summit Bags (used)                  25
12      94130107           8     Misc bags (used)                           30
13      94130107           9     Eagle Creek Bags                           17
        94130107          10     North Face Kings Canyon Tent                1
14      94130107          11     North Face Jackets                         15
15      94130107          12     North Face Enzo Goretex Pants               1
        94130107          13     SW-X 3/4 Length Revolution Tights           9
16      94130107          14     Barneys of New York Jackets                 2
        94130107          15     Arcteryx Men's Goretex Pro Shell Pants      1
17
        94130107          16     Arcteryx Jackets                           10
18      94130107          17     REI Jackets                                 3
        94130107          18     North Face Phoenix 3 Tent                   1
19                               Bikamper Three-Season Personal
       94130107            19    Sleeper Tent                                1
20
       94130107            20    Neo Air Sleeping Pad                        2
21     94130107            21    Marmot Jackets                              4
       94130107            22    Yellow Spyder pants                         1
22     94130107            23    Ski Retriever                               4
23     94130107            24    Deep Powder Ski Retriever Kit               3
       94130107            25    1 pair Leki Ultralite Thermalite Poles      1
24     94130107            26    Black Diamond Trekking Poles                3
       94130107            27    Goretex Gloves                              4
25
       94130107            28    Arcteryx Sabre Pants                        2
26     94130107            29    Oakley Great Ascent Goretex Pants           2
       94130107            30    Burton TWC Denim PT Pants                   1
27     94130107            31    Arcteryx Accelero Nighthawk Jackets         6
28     94130107            32    Footjoy DryJoys Jackets                     3


     FINAL ORDER OF FORFEITURE                   6
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 1                               Zumiez Equilibrium DGK DBP-36
       94130107            33    Backpack                                    1
 2                               Used Backpack Full of Miscellaneous
 3     94130107            34    Shipping Supplies                           1
       94130107            35    Mountain Hardware Jackets                   2
 4     94130107            36    Gore Bike Wear Goretex Jackets              4
       94130107            37    Patagonia Jackets                           6
 5     94130107            38    Under Armour Jackets                        8
 6     94130107            39    Under Armour Shirts                         10
       94130107            40    Under Armour Shorts                         10
 7     94130107            41    Adidas Jacket                               1
       94130107            42    Black Adidas Bag (used)                     1
 8
       94130107            43    American DJ, Royal Sky Laser Lights         1
 9                               Clothing Racks- Portable Plastic,
       94130107            44    damaged                                      3
10     94130107            45    Rubbermaid Action Packer Storage Bin         1
11     94130107            46    Nike Shorts                                 5
       94130107            47    Nike Shirts/Jackets                         12
12     94130107            48    1 pair Nike Free Athletic Shoes              1
       94130107            49    Nike Sports Watch GPS                        1
13
       94130107            50    Nike Track Suit                             2
14     94130107            51    Lindeberg Shirts                            2
       94130107            52    Smartwool Shirts                             2
15     94130107            53    Gap Buttondown Shirts                       8
       94130107            54    Brookstone Boogie Board Writing Tablets      2
16
                                 Miyabi Toishi Pro Synthetic Ceramic
17     94130107            55    Whetstone                                   2
       94130107            56    Battlesmart Sports Chin Protectors          2
18     94130107            57    All Clad Pans                               8
       94130107            58    Williams Sonoma Bluetooth Speaker           1
19
       94130107            59    Miyabi 270-2232, Ice Mold                   1
20     94130107            60    Wusthof Knives (4 Piece Set) out of box     1
       94130107            61    Scanpans                                    3
21                               Copper Pans
       94130107            62                                                5
22     94130107            63    All Clad Pans                               4
       94130107            64    Waterford Martini Glasses                   2
23     94130107            65    Waterford Champagne Glasses                 2
24     94130107            66    Waterford Lowball Glasses                   3
       94130107            67    Waterford Champagne Glasses                 3
25     94130107            68    Waterford Decanters                         2
       94130107            69    Waterford Butter Tray                       1
26
       94130107            70    Waterford Goblets                           5
27     94130107            71    1 Box (5 piece Global Knives)               1
       94130107            72    Henkle Miyabi 18" Chef Knife                1
28


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 1     94130107            73    Henkle Magnetic Bar                          2
       94130107            74    5 boxes (Henkle 8 Piece Knife Sets )        5
 2
       94130107            75    Williams Sonoma Shun Cutlary Knives         4
 3     94130107            76    Wusthoft Knife Set- Prepack Classic          1
       94130107            77    Wusthoft Knive, 6 in                        5
 4     94130107            78    Schmidt Bros. Knife                          1
 5     94130107            79    Zwilling by Kramer Sharpening Stone          2
       94130107            80    Zwilling J.A. Henckels, Miyabi Sharpener     1
 6     94130107            81    Miyabi Saya Knife Protecting Sheath         10
       94130107            82    DeBuyer Mandoline Dicer                     2
 7
                                 USN MK 3 MOD 0 Hunting Knife with
 8     94130107            83    Sheath- Black                               1
       94130107            84    Calphalon Knife Set                         2
 9                               Calphalon Knife Set
       94130107            85                                                1
10     94130107            86    Blackberry Phone                            1
       94130107            87    iPad Smart Cases                             2
11     94130107            88    iPad Cases                                  2
12     94130107            89    Logitech Rechargeable Trackpad              28
       94130107            90    Logitech Tablet Keyboard                    1
13                               Motorola Surfboard Extremet Cable
       94130107            91    Modem                                       1
14     94130107            92    Insulated Q-Core SL Sleeping Pad            1
15                               iRobot Roomba Model 650 w/
       94130107            93    Accessories                                 1
16     94130107            94    Targus Ultraline Wireless Mouse             2
                                 Motorola Surfboard Wireless Cable
17     94130107            95    Modem                                       1
       94130107            96    Life Proof iPhone 5 Case                    1
18
       94130107            97    Lifeproof iPhone 5 Cases                    5
19     94130107            98    ResQlink Personal Locator Beacon            1
       94130107            99    Zoom Q2HD Handy Video Recorder              1
20     94130109            1     Nikon 1 Camera                              1
21     94130109            2     Lewmar Pro-Series 700 Windlass              1
       94130109            3     NetGear R6200 Wifi Router                   1
22                               Western Digital, My Book Live, Personal
       94130109             4    Cloud Storage System                        1
23                               Morphie Juice Pack Air Rechargeable
24     94130109            5     iPhone Covers                               5
       94130109            6     Logitech Rechargeble Trackpad for Mac       3
25     94130109            7     Logitech Keyboard Covers                    3
       94130109            8     Logitech Keyboards                          4
26
       94130109            9     Bose Small Cube directional speakers        4
27     94130109            10    GoPro Hero Camera and Accessories           1
       94130109            11    Makita 2 piece cordless drill set in bag    1
28     94130109            12    Raquetball Rackets                          3

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 1     94130109            13    Bike Saddles                                2
       94130109            14    Baseball Bats                               6
 2
       94130109            15    Rawling Baseball Mitts                      2
 3                               Titleist Scotty Cameron Select Newport
       94130109            16    1.5 Golf Putter                             1
 4     94130109            17    Stohlquist Water Ware Orange Suit           1
 5     94130109            18    Tomtom HA 1282M03406 Pedometer              1
       94130109            19    Mio Pedometers                              5
 6     94130109            20    Hotronic Electronic Heating System          3
       94130109            21    Stokke Baby Mycarrier- Tan                  1
 7                               Traveler Guitar, Escape EG1S Red
 8     94130109            22    Finish Guitar                               1
                                 Titanium Robert Simmons Paint Brushes
 9                               ; LC American Painter 4250F Flat Paint
       94130109            23    Brush; Iris Scrapbook Case                  43
10     94130109            24    Seal Line Dry Bags                           3
                                 Winsor & Newton Artist's Oil Colour paint
11
       94130109            25    tubes                                       12
12                               Bead Landing 3 piece Stamping Circle
       94130109            26    Punches                                     1
13                               Halcraft, Bead Gallery, miscellaneous
       94130109            27    pendants.                                   25
14                               Bead Landing Tools; Jewelry Essentials
15     94130109            28    Tools                                       5
       94130109            29    Jewelry Essentials Stamps                   2
16     94130109            30    Bead Landing Design Block                   1
       94130109            31    Bead Landing Disc Cutter                    1
17                               Bead Landing 9 piece Number Punch
18     94130109            32    Tool                                        1
                                 Bead Landing Stamping Blank
19     94130109            33    Assortments                                  5
       94130109            34    Bead Landing Metal Stamping Sheets          11
20     94130109            35    Sentry Fiproguard for Dogs                  7
21     94130109            36    Blue Flexilong Leash                        1
       94130109            37    Pure Breed Test                              1
22     94130109            38    Comfort Zone Diffusers                      4
       94130109            39    Comfort ZoneSprays                           2
23
       94130109            40    Advantage II Kitten                         3
24     94130109            41    Frontline Spray                             4
       94130109            42    Petarmor for Dogs                            2
25     94130109            43    Sentry Fiproguard for Cats                  7
26     94130109            44    Frontline Plus for Cats                      5
       94130109            45    Advantage II for Cats                       15
27     94130109            46    K9 Advantix II for Dogs                     16
       94130109            47    Advantage II for Dogs                       4
28


     FINAL ORDER OF FORFEITURE                    9
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 1     94130109            48    Sentry Worm x Plus                        1
       94130109            49    Furminator Deshedding Tools              24
 2
                                 Weems & Plath Clock/Weather Atlantis
 3     94130109            50    Collection                                   1
                                 Dyson Animal DC44 Vaccum and
 4     94130109            51    accessories                                  1
       94130109            52    Apple Airport Extreme 802.11n Wi-Fi          1
 5
       94130109            53    Bowers & Wilkins P5 Mobile Headphones        1
 6                               Ecco Natural Motion Golf Shoes BIOM
       94130109            54    Men's                                    2
 7     94130109            55    Assorted Bottles of Supplements          21
       94130109            56    1 Box Calphalon Knives Katana Series     1
 8
       94130112             1    Markbass Big Bank 500W Amp Head          1
 9

10   Seizure Date:               April 9, 2013
11   Seizure Location:           Range Rover
                                 VIN: SALMF134X8A275006
12

13    AFTRAK             Asset
       Number           Number   Asset Description                       Quantity
14    94130106             1     North Face Duffel Bag                      1
15    94130106             2     Duffel Bag                                 1
      94130106             3     Tumi Tech Backpack                         1
16    94130106             4     Tumi Tech Backpack                         1
      94130106             5     Sea to Summit Bag                          1
17
      94130106             6     Big Agnes Tent                             1
18    94130106             7     Tennis Racket                              1
      94130106             8     Wilson A2000 Baseball Mitt                 1
19    94130106             9     Under Armour Jacket                        1
20    94130106            10     Williams Sonoma Demayere Cookware          1
                                 American DJ- Inno Color Beam LED
21    94130106             11    Projector                                        1
      94130106             12    Cable Modem                                      1
22
      94130106             13    HP Officejet 15D Mobile Printer                  1
23    94130106             14    Verizon Jetpack MiFi                             1
      94130106             15    Liteproof iPhone Case                            2
24    94130106             16    A-HD Supplements                                 7
25    94130106             17    Kre-Alkalyn Supplements                          3
      94130106             18    Beyond COQ-10 Supplements                        1
26    94130106             19    Digest Gold Supplements                          1
      94130106             20    Calcium Citrate Supplements                      1
27
      94130106             21    Petamor Flea Medicine                            9
28    94130106             22    Advantage II Flea Medicine                       3


     FINAL ORDER OF FORFEITURE                  10
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 1    94130106             23    Sentry Fipro Flea Medicine                   1
      94130106             24    Frontline Flea & Tick                        3
 2
      94130106             25    Pure Breed Test                              2
 3    94130106             26    Flexi Dog Leash                              2
      94130106             27    Dog Harness                                  1
 4    94130106             28    Eagle Creek Pack-It System                   1
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